          NOTE: This order is nonprecedential.


  United States Court of Appeals
      for the Federal Circuit
                 ______________________

                      APPLE INC.,
                       Appellant

                            v.

     INTERNATIONAL TRADE COMMISSION,
                 Appellee

       MASIMO CORPORATION, CERCACOR
            LABORATORIES, INC.,
                   Intervenors
             ______________________

                       2024-1285
                 ______________________

   Appeal from the United States International Trade
Commission in Investigation No. 337-TA-1276.
                ______________________

                     ON MOTION
                 ______________________

PER CURIAM.
                       ORDER
    Apple Inc. moves to “expedite oral argument, setting it
on the first available argument calendar,” Mot. at 8. The
International Trade Commission and intervenors Masimo
2                                        APPLE INC. v. ITC




Corporation and Cercacor Laboratories, Inc. oppose the
motion.
    Upon consideration thereof,
    IT IS ORDERED THAT:
    The motion is denied. Oral argument will be scheduled
in the normal course.
                                           FOR THE COURT




August 27, 2024
    Date
